Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 1 of 28




             EXHIBIT 1
     Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 2 of 28


e, CT Corporation                                                                 Servic;e of Proc.ess
                                                                                  Transm.ittal
                                                                                   06/22/2016
                                                                                   CT Log Number 529380806
   TO:       Gale Delfino
             Phoenix Life InsuranCe Company·
             Qrl'e American Row
             Hartford, CT 06162                                                                                RECEIVED
   liE;      .Process .Served, i~. New· Mexico                                                                        JUN 23 2016
   FOR:      PHLVariable ln.surance Company (Domestic State: CT)
                                                                                                                  LAW DEPT.

   ENCLOSED.AJQ:;:COPIES ,OF ·~EOAL P~OCESS. "-ECEIV!i=D· !JY THE; STA'J;UT()~ 4GE,.T OF THE .BOVE CO"-'P~Y.A,S .FOLLOWS:

   TITLE· Of AcTION;                      Caroline H'. Shryqck and Gayle L. Lewis, etc., Pltfs. vs. PHL Variable Insurance
                                         'Company, et al~, Dfts.
   DO~Ur.iJENT(S}"~ERVED:                Lette~ 'S1,.1mmons;. Complaint,. J\..lry· Demand
   ~QU~t,T/AQeNcY:                       San Juan Coun~y· ~·Eleventh Judicial District Court1 · NM
                                         Case# 01116CV201600730
   ~T~RE; OF .AC;'f:ION~                 Insurance litigation -.Glaim fOr :policy :benefits
   ON,WHOM PRQCE$$.'WAS SERVED~         ·C T'COrporation System, Espanola·, NM
   DATE;' AN~ HOQit OF   SJ;RV~CE:       ayCer\ified Mail on 06122/2016postm~rked on 06/20/2016
   J'U.ISD.CTION:SE:~ED:                 New Mexico
   APPE~NCE OR ~NSWER. DUE:              No later than 30 days from the date. of service
   ATTOflNI:Y(S~ I SEND:ER($)•           Clinton W. Marrs
                                         Marrs Grie)lel l:aw, .Ltd.
                                         1000 Gold Avenue, SW
                                         Albuquerque, NM 87102
                                         5.05·433·3926
                                         CThas retained the current ;lo~, Retain Date: 06/i2/Z016, El<Pected Purge Date:
                                         06/27/201.6                                              . ..                  .
                                         Image SOP
                                         EmaH.N_Otificatio_n~ Gate Oelfino g~~e.cielfino®phO~nixWm.cQ/'"
                                         Email Notification, Joseph Tedone       joseph~tedone@lphoenixwm.co(l"l

                                         Email NbtifiCat'ion, J_ohn Mulrain johrumulrail'l@phoehiXWin.com
                                         'Email. No~ificf}tion~ UZa. Ftetcher Uza.fletCher@phoenixwrn.• com
                                         Eman Notification, John Bee.rs JOHN.BEERS®phoenixwm.com

   .SIGNED'=                             C TCorporation System
    ADriR,ESS:                           206 s Coronado Ave
                                         Espanola, NM 87532-2792
   TELE,PHONE;                           360•357-6794




                                                                                   Page1 of 1 /VP
                                                                                   lnfonnatton ~!splayed on thls t~nsmlttitl ·4 tor. CT
                                                                                   Corpof'ltlon's rewrd keeplog pu~poses only ant;! .is provide~'tQ,
                                                                                   the-recipient_ for qulr;k reference; This Information: does..not
                                                                                   constitute a.,teg_a! opioion as· to·the natu~e of a_ct;ion, .t~.
                                                                                   amount of_dam~s, the answerda~1 . or ,any 11'lfonmit1on
                                                                                                tpe
                                                                                   con.ta.ined In      documents t~msel'(es; ~c1ple'nt'IS
                                                                                   responslbl~ fOr h'ltefl)retl!l~ sald,do.cumebts an.d·for ta~<.lng
                                                                                   appropriate· actl.OJ). Signatures O;n certified .mail :receiPts
                                                                                   confirm ll;lq!lpt of·packa~e Only, not contents,
                          Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 3 of 28


poBox 1689
Santa Fe, NM 87504-lSag                                    Ill
                                        .7010 0290 0002 3831 6424




                                                                                PHL Variable Insurance Co.
                                                                                C!O CT Corporation Systems
                                                                                206 S. Coronado Avenue
                                                                                Espanola, NM 87532




                                l                                                                            I
                                                                                                             I'
     Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 4 of 28




                               STATE OF NEW MEXICO
                  OFFICE OF SUPERINTENDENT OF INSURANCE
               Mailing Address: P.O. Box 1689, Santa Fe, NM 87504-1689
         Physical Address: 1120 Paseo de Peralta, Room 428, Santa Fe, NM 87501
    Main Phone: (505) 827-4601; Main Fax (505) 827-4734; Toll Free: 1-855-4-ASK-OSI

SUPERINTENDENT OF                                                        Service of Process
INSURANCE                                                                        Room434
John G. Franchini~ (505) 827-4299                                           (505) 827-1291

DEPUTY SUPERINTENDENT
Robert Doucette~ (505) 827-4439

June 17,2016

PHL Variable Insurance Co.
C/0 CT Corporation Systems
206 S. Coronado Avenue
Espanola, NM 87532
                                                                                     t'-'
                                                                                     ,~-:;~

    Re: Caroline H. Shryock and Gayle L. Lewis as trustees of The Caroline H. Shryock Living
Trust Vs PHL Variable Insurance Company, Diamond & Associates Retirement Planning
Services Inc. and Mark Stephen Diamond,
Dll16CV2016-00730

Dear Mr. President:

In accordance with the provisions ofNMSA 1978, Sections 59A-5-31 & 59A-32, enclosed is a
copy of a Summons, Complaint, and Plaintiffs Jury Demand, to Defendant PHL Variable
Insurance Company in the State of New Mexico on the above styled cause, Service has been
accepted on your behalf as of June 17, 2016.


Respectfully,




John G. Franchini, Superintendent

Enclosure

CERTIFIED MAIL 7010 0290 0002 3837 6424
         Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 5 of 28


f




                                                SUMMONS

     District Court: ELEVENTH JUDICIAL                  Case Number:
     San Juan County, New Mexico                        D-1116-CV-2016-00730
     Court Address:
      I 03 S, Oliver                                    Assigned Judge:
     Aztec, NM 87410                                    Bradford J. Dalley
     Court Telenhone No.: 505-334-6151
     Plaintiff(s):                                      Defendant
     CAROLINE H. SHRYOCK and                            Name: PHL Variable lnsnrance Company
     GAYLE L. LEWIS as trustees of                      c/o Office of Superintendent of Insurance
     THE CAROLINE H. SHRYOCK
     LIVING TRUST,                                      Address:
     v.
     Defendant(s):
     PHL VARIABLEINSURANCECOMPANY,
     DIAMOND & ASSOCIATES
     RETIREMENT PLANNING SERVICES,
     INC. and MARK STEPHEN DIAMOND

                     TO THE ABOVE NAMED DEFENDANT(S): Take notice that
    1.       A lawsuit has been filed against you. A copy of the lawsuit is attached. The Court issued
    this Summons.
    2.       You must respond to this lawsuit in writing. You must file your written response with the
    Court no later than thirty (30) days from the date you are served with this Summons. (The date you
    are considered served with the Summons is determined by Rule 1-004 NMRA) The Court's address
    is listed above.
    3.        You must file (in person or by mail) your written response with the Court. When you file
    your response, you must give or mail a copy to the person who signed the lawsuit.              ..
    4.       If you do not respond in writing, the Court may enter judgment against you as requested in
    the lawsuit.
    5.       You are entitled to a jury trial in most types of lawsuits. To ask for a jury trial, you must
    request one in writing and pay a jury fee.
    6.       If you need an interpreter, you must ask for one in writing.
    7.       You may wish to consult a lawyer. You may contact the State Bar of New Mexico for help
    finding a lawyer at www.nmbar.org: 1·800-876-6657; or l-505-797-6066.
    Dated at        Aztec                    , New Mexico, this1Atb.. day of     June , 2016.

    WELDON J. NEFF
    CLERK OF DISTRICT COURT

    B~6- j Ccr~doJ~
             I
           Deputy
                                                                                            RECEIVED
                                                                                              J;JN 1 7 2016
                                                                                        Office u; f!'"'lri,~tendent
                                                                                              Of lil~Ua11ce
                                                                                                                       l
                 Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 6 of 28
,.



                                                             MARRS GRIEBEL LAW, LTD.

                                                             By    Is/ Clinton W. Marrs
                                                                   Clinton W. Marrs
                                                                   1000 Gold Avenue, SW
                                                                   Albuquerque, NM 871 02
                                                                   (505) 433-3926
                                                                   Attorneys for Plaintiffs

           THIS SUMMONS IS ISSUED PURSUANT TO RULE 1-004 OF THE NEW MEXICO
           RULES OF CIVIL PROCEDURE FOR DISTRICT COURTS.


                                                            RETURN1

           STATEOFNEWMEXICO                          )
                                                     )ss.
           COUNTYOF                                  )

           I, being duly sworn, on oath, state that I am over the age of eighteen (18) years and not a party to this
           lawsuit, and that I served this summons in                              county on the _ _ day of
           ::---:::--..,.---:-:-'' 2016, by delivering a copy of this summons, with a copy of the Complaint and the
           Jury Demand attached, in the following manner:

           (check one box and fill in appropriate blanks)

           []   to the defendant                               (used when defendant accepts a copy of
           summons and complaint or refuses to accept the summons and complaint)

           []      to the defendant by [mail] [courier service] as provided by Rule 1-004 NMRA (used when
           service is by mail or commercial courier service).

           After attempting to serve the summons and complaint on the defendant by personal service or by
           mail or commercial courier service, by delivering a copy of this summons, with a copy of complaint
           attached, in the following manner:

           []      to                                , a person over fifteen (15) years of age and residing atthe
           usual place of abode of defendant                       , (used when the defendant is not presently at
           place ofabode) and by mailing by first class mail to the defendant at                           (insert
           defendant's last known mailing address) a copy of the summons and complaint.

           []     to                               , the person apparently in charge at the actual place ofbusiness
           or employment of the defendant and by mailing by first class mail to the defendant at
           --:-:----:----::--:---(insert defendant's business address) and by mailing the summons and
           complaint by first class mail to the defendant at                        (insert defendant's last known
           mailing address).




     ---- ----   -·--       --- - -           - .,   __ --·-      ·-·-
        Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 7 of 28




[]     to ________________, an agent authorized to receive service of process for
defendant
                 ---------------------
[]  to             ,'[parentJTguardian][custodian] [conservator] [guardian ad litem]of
defendant_________       (used when defendant is a minor or an incompetent person).

[]     to                                  (name ofperson),                                 , (title of
person authorized to receive service. Use this alternative when the defondant is a corporation or an
association subject to a suit under a common name, a land grant board oftrustees, the State ofNew
Mexico or any political subdivision).

Fees:-------------


            Signature of person making service


            Title (if any)

Subscribed and sworn to before me this ____ day of _________, 20162


Judge, notary or other officer
authorized to administer oaths


Official title

                                                                        USE NOTE
            I.          Unless otherwise ordered by the court, this retuJTJ is not to be filed with the court prior to service of the summons andoomplaint an
the defendant
            2.         If service is rn1l.Oe by the sheriff ora deputy sheriff of a New Mexico county, tln: signalure of the sheriff or deputy sheriff need not
be notarized.
[Adopted effective-August I, 1988; as ametn;led by Supreme CourtOrderOS-8300-01, effective March 1, 2005; by SupremeCtmrt0rder07-8300-16,
effective-August J, 2007; by Supreme Court Order No. 12-8300-026, effective for all cases flied or pending on or after January 7, 2013.]
                 Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 8 of 28
                                                                                                      FILED IN MY OFFICE
                                                                                                  DISTRICT COURT CLERK
                                                                                                     6/14/2016 10:12:24 AM
                                                                                                         WELDON J_ NEFF
                                                                                                               Dacia Schart

           STATE OF NEW MEXICO
           COUNTY OF SAN JUAN
           ELEVENTH JUDICIAL DISTRICT COURT


           CAROLINE H. SHRYOCK and GAYLE L. LEWIS
           as trustees of THE CAROLINE H. SHRYOCK
           LIVING TRUST,

                  Plaintiff,

           v.                                                         Case No.      D-1116-CV-2016-00730


           PHL VARIABLE INSURANCE COMPANY,
           DIAMOND & ASSOCIATES RETIREMENT
           PLANNING SERVICES, INC. and MARK
           STEPHEN DIAMOND,

                  Defendants.


                                                   COMPLAINT

                  Caroline H. Shryock and Gayle L. Lewis in their capacity as trustees of The Caroline H.

           Shryock Living Trust complain against PHL Variable Insurance Company, Diamond &

           Associates Retirement Planning Services, Inc., and Mark Stephen Diamond.

                                              What This Case Is About

                  Defendants misrepresented material facts and abused Plaintiffs' trust in order to obtain

           unfair profiits, including a commission of about $75,000, when Defendants redirected nearly

           $1,000,000 that Plaintiffs had in other investments into an annuity. At the time the annuity was

           sold to Mrs. Shryock, she was in her 90s. The annuity was wholly unsuitable to Plaintiffs'

           needs. Plaintiffs learned of the annuity's unsuitability in 2015, when Plaintiffs' tax preparer,

           Gervias & Associates, explained the annuity's grave negative consequences to them.           Paul

           Gervais of Gervais & Associates attempted to help Plaintiffs by sending a letter to Defendants

           where he explained that Plaintiffs had been duped into putting nearly $1 ,000,000 into the wholly


                                                                                                           1


.   --   ~--    ---~-   -~-
                               -------- - - - -                   -------        --·   -- --     ----
                   Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 9 of 28




              unsuitable annuity. In response, Defendants not only refused to make matters right, but sued Mr.

              Gervais for defamation in a lawsuit that was quickly dismissed.

                                                Parties, Jurisdiction, & Venue

                                                    Plaintiffs & the Trust

                      1.       Plaintiff Caroline H. Shryock resides in this judicial district, in Kirtland, New

              Mexico.

                      2.       Mrs. Shryock was born in 1920. Her husband of 50 years, Louis Shryock, passed

              away in 1996. Mrs. Shryock worked outside the home early in their marriage, but had her last

              job more than 50 years ago. From her 60s into her 90s, Mrs. Shryock volunteered extensively

              with the Girl Scouts.

                      3.      Plaintiff Gayle L. Lewis partly resides in this judicial district and has a home in

              Farmington, New Mexico.

                      4.      Ms. Lewis is Mrs. Shryock's neice. Ms. Lewis grew up in Durango, Colorado and

              now splits her time between her home in Farmington, New Mexico, in part to look after Mrs.

              Shryock, and a second home in Casa Grande, Arizona. Ms. Lewis is an artist. She primarily

              paints landscapes of the Four Comers area. From 2005 to 2007, Ms. Lewis taught drawing

              classes at San Juan College.

                      5.      Mrs. Shryock is the trustor of a trust known as The Caroline H. Shryock Living

              Trust ("Trust''). She and Ms. Lewis are co-trustees of the Trust.

                                                         Defendants

                      6.      Defendant PHL Variable Insurance Company ("PHL") is a corporation organized

              under the law of the state of Connecticut with its principal place of business in Connecticut.




                                                               2


- -.,...   --.. - -   - -·   ··--   -
                                                                    - - --· --·--- - -
             Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 10 of 28




                 7.        Defendant Diamond & Associates Retirement Planning Services, Inc. ("DARPS'')

          is a corporation organized under the law. of the state of Arizona with its principal place of

          business in Arizona.

                 8.        Defendant Mark Stephen Diamond is a citizen of the state of Arizona and resides

          in Arizona. On information and belief, at all times material to the subject matter of this complaint

          Mr. Diamond owned all or a majority of the issued and outstanding stock ofDARPS.

                 9.        At all times material to the subject matter of this complaint, DARPS and Mr.

          Diamond engaged in the business of marketing and selling, among other things, the services of

          financial education, protection, and retirement planning to elderly persons and the services of

          marketing and facilitating the sale of annuity and insurance products as an agent of insurers that

          issued the products.

                 10.       On April 25, 2011, Mr. Diamond was licensed by the New Mexico Insurance

          Division of the Public Regulation Commission as an insurance agent and subsequently was

          appointed by PHL to act as its agent in New Mexico. PHL held Mr. Diamond out to Mrs.

          Shryock and Ms. Lewis as its "financial representative."

                 11.       At all times material to the subject matter of this complaint, PHL engaged in the

          business of marketing and selling, among other things, annuity products. Before 201 0, PHL

          focused its marketing strategies on high-net-worth and affluent households with sophisticated

          estate planning and other financial needs. Following business upsets and financial-strength rating

          downgrades in 2009, PHL changed its target market for new sales of products and began

          focusing on middle market households with a variety of financial planning needs, such as tax-

          deferred savings, safety of principal, guaranteed income during retirement and modest death




                                                           3



--- -- · - - - -·     --·-· ----·   - - - - - - - - - - - --- ·--         ---
               Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 11 of 28




           benefits. By 2011, PHL's typical customer was between 50 and 80 years old, with an average

           annual income of $60,000 and an average net worth of$625,000.

                   12.       In 2009, consistent with shifting its target market from high-net-worth and

           affluent households to the middle market, PHL began to distribute its products through producers

           who typically were affiliated with one or more independent marketing organizations pursuant to

           selling agreements. On infonnation and belief, PHL entered into one or more selling agreements

           with DARPS, Mr. Diamond, or both of them.

                   13.       At all times material to the subject matter of this complaint, as PHL's agent Mr.

           Diamond engaged in New Mexico in the business of soliciting the purchase of, negotiating the

           tenns of, and selling, annuity products issued by PHL.

                   14.       Defendants submitted to the Court's jurisdiction as to the causes of action alleged

           by this complaint arising from their transactions of business within this state and its commission

           of a tortious act within this judicial district.

                   15.       This judicial district is a proper venue for this action.

                                             Allegations Common to All Counts

                                Defendants' Recommendation ofthe Unsuitable Annuity

                   16.       In 20 II Plaintiffs were, and to this day continue to be, inexperienced and

           unsophisticated in and with respect to investment, insurance, and tax planning involving

           securities, annuity products, and insurance products.

                   17.       At all times material to the subject matter of this complaint, Mrs. Shryock was

           financially conservative. She owned a medical insurance policy that supplemented her Medicare

           insurance benefits. She relied on savings, social security, certificates of deposit, and low risk

           mutual fund investments to meet her needs for current income and the safety of her financial



                                                                4



-   ~·--   ---- --       -     -~
    Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 12 of 28




assets. In view of her advanced age and modest current-income need, and provided her assets

were invested suitably, in 2011, when she first met Mr. Diamond, Mrs. Shryock possessed

sufficient financial assets to assure that her income needs could be met during the remaining

years of her life.

        18.     In view of her advanced age, financial situation and needs, and other

considerations, in 2011, when she first met Mr. Diamond, Mrs. Shryock and the Trust's

investment objective primarily was preservation of capital and her tolerance of risk in her

investments was correspondingly low.

        19.     Plaintiffs saw an ad in the Farmington newspaper about a financial investments

seminar hosted by Defendants at a Farmington hotel. With the ad and seminar, Defendants

promoted Mr. Diamond as an educator of senior citizens with respect to financial and investment

planning matters with a view towards enlisting attendees as new clients for the sale of financial

planning and investment advisory services and the sale of annuities and other financial products.

        20.     Mrs. Shryock does not have any children. She desired to bestow financial benefits

on her grandnieces and grandnephews upon her death. She desired to use the Trust as a means of

creating an education legacy by providing educational funding to the Trust's beneficiaries,

including her grandnieces and grandnephews.

        2L      Mrs. Shryock and Ms. Lewis attended Mr. Diamond's seminar in or about May

20 II. Mrs. Shryock was interested in learning more about how he might help her with her goal

of providing educational funding to her grandnieces and grandnephews. Consequently, she and

Ms. Lewis asked ifthey could meet with him to discuss the best ways to achieve this goal.

        22.     Mr. Diamond and an individual he identified as his associate subsequently met

with Mrs. Shryock and Ms. Lewis at Ms. Lewis' home in Farmington, New Mexico. At this



                                                5


                       - · - - " - - -- -·- - -
    Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 13 of 28




meeting, Mr. Diamond and his associate gathered information about Mrs. Shryock, Ms. Lewis,

the Trust, and its beneficiaries.

       23.      By the conclusion of the first meeting, Mr. Diamond knew, or should have

known, that Mrs. Shryock's primary investment objective was preservation of capital, her risk

tolerance was correspondingly low, her primary trust objective was to ensure that all of her

grandnieces and grandnephews' educational needs would be fully funded, and the Trust was

revocable. At the conclusion of the meeting, Mr. Diamond offered to evaluate the information he

had gathered and return for a second meeting to present his recommendations of how Mrs.

Shryock could best achieve these goals. Believing Mr. Diamond to be a financial representative

who specialized in advising senior citizens in the suitable investment of their financial assets,

Mrs. Shryock and Ms. Lewis accepted Mr. Diamond's offer and agreed to receive his

recommendations.

       24.     When Mr. Diamond returned to Kirtland, New Mexico to meet with Mrs. Shryock

and Ms. Lewis again, he emphasized that the Trust's investment portfolio was plagued with

uncertainty, was exposed to losses if it remained invested in mutual funds and other equity

securities and inflation if invested in bonds and other fixed-income securities. He emphasized

that the portfolio earnings were subject to income taxation, which diminished the opportunity for

the portfolio to grow.

       25.     Having emphasized the investment risks of the Trust's portfolio, Mr. Diamond

then explained that Mrs. Shryock and Ms. Lewis that the Trust could avoid these risks and best

achieve the goal of funding all of her grandniece and grandnephews' educational needs by

selling the Trust's securities portfolio and using the proceeds of the sale to purchase a single-

premium annuity.



                                                6



·-·- +- -· -- -- - -                                ---   -·-   ""'   ·--   -n-
                  Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 14 of 28




                     26.      Mr. Diamond was not licensed by any fedeml or state authority, including New

            Mexico's Securities Division, to recommend to, or advise, Mrs. Shyrock and Ms. Lewis that the

            Trust should sell its securities portfolio and use the proceeds of the sale to invest in an annuity.

                     27.      Mr. Diamond infonned Mrs. Shryock and Ms. Lewis that he was a financial

            representative of PHL, which he explained was a leading issuer of annuities. He stated that an

            indexed annuity issued by PHL could best accomplish Mrs. Shryock and the Trust's conservative

            investment objective and risk tolemnce, and its educational-funding goal, because the "earnings"

           of such an annuity would be tax-deferred, allowing the Trust's assets to grow more quickly, and

           because this growth could be achieved with no risk of loss of invested principaL

                     28.      Additionally, in a further effort to persuade Mrs. Shryock and Ms. Lewis to accept

           his recommendation, Mr. Diamond touted a "bonus deposit" feature of the annuity pursuant to

           which, in exchange for crediting the annuity with a 10% "bonus," the surrender period of the

           annuity was extended. In touting this feature, Mr. Diamond failed to explain the risks and

           burdens to the Trust and the trustor's intentions occasioned by the extension of the surrender

           period.

                     29.      Mr. Diamond did not present Mrs. Shryock and Ms. Lewis with any alternatives

           to investing in a single-premium indexed annuity. He did not explain, identify, or otherwise

           bring to Mrs. Shryock's or Ms. Lewis's attention that Mrs. Shryock and the Trust could

           accomplish their educational-funding goals in a substantially more tax-advantaged way, while

           meeting their conservative investment objective and investment risk tolerance.

                     30.      In view of PHL's apparent business reputation, Mr. Diamond's status as PHL's

           financial representative, and their own inexperience and ignorance with respect to the use of




                                                              7



----- --- ·----   ·--. ·--   ---·---
                     Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 15 of 28




               trusts and annuities in financial planning, it did not occur to Mrs. Shryock or Ms. Lewis to

               question the veracity, completeness, or competence of Mr. Diamond's representations.

                          31.      Relying on Mr. Diamond's professed expertise, his representations, and the

               apparent business reputation of PHL, Mrs. Shryock and Ms. Lewis accepted Mr. Diamond's

               recommendation that a single-premium indexed annuity, issued by PHL, was the best means for

               accomplishing Mrs. Shryock and the Trust's educational-funding goals, his recommendation that

               the Trust should sell its existing securities portfolio and use the cash proceeds to purchase the

               annuity,         and his direction and guidance in formulating and implementing of his

               recommendations.

                          32.      To the extent that Mrs. Shryock and Ms. Lewis sought a second opinion, Mr.

               Diamond neutralized the impact of the second opinion through deceptive and misleading

               statements. Mrs. Shryock and Ms. Lewis asked their tax advisor, Mr. Gervais, about what Mr.

               Diamond had proposed. Mr. Gervais told them that an annuity would not meet their goals and

               was not a suitable product. When Mrs. Shryock and Ms. Lewis reported Mr. Gervais' advice to

               Mr. Diamond, Mr. Diamond told them that Mr. Gervias was mistaken and the product Mr.

               Diamond was selling them actually was not an annuity.

                                                     The Unsuitable Annuity

                          33.      Mr. Diamond chose PHL's "Phoenix Reflections Gold Bonus" single-premium

               indexed annuity as purportedly the best product to meet Plaintiffs' professed needs and goals. He

               filled out an application for the annuity and a "Suitability Confirmation and Customer

               Identification Questionnaire," furnished the documents to Mrs. Shryock and Ms. Lewis, and

               urged them to sign the documents. At his direction, Mrs. Shryock and Ms. Lewis signed the

               application and Ms. Lewis alone signed the questionnaire.



                                                                8



. -· --   - - -· -    -    -
                                                                                                          '' ~

   Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 16 of 28




         34.       In the "Suitability Confirmation and Customer Identification Questionnaire,"

Plaintiffs confirmed in writing that one of their financial objectives was tax deferral.

         35.       In the "Suitability Confirmation and Customer Identification Questionnaire,"

Plaintiffs confirmed in writing that their "decision to purchase this annuity [was] based on [Mr.

Diamond's] recommendation."

         36.       Mr. Diamond and Plaintiffs signed this document on August 6, 2011.

         37.       The annuity sold to them did not provide for tax deferral.

         38.       Southwest Securities transferred the sum of $967,256.57 to PHL as payment of

the single premium for the annuity that Mr. Diamond recommended. Mr. Diamond directed the

purchase of an annuity contract known as the "Phoenix Reflections Gold Bonus," numbered

28149557, that PHL characterized as a "Modified Single Premium Deferred Fixed Modified

Guaranteed Indexed Annuity" that was, in addition to these characteristics, "Nonparticipating".

         39.      The compensation to PHL and Mr. Diamond on account of selling the Phoenix

Reflections Gold Bonus annuity ("PHL Annuity Commission"), on information and belief, was

approximately $75,000, which was substantially more than the compensation that otherwise

would have been payable on account of suitable recommendations to Mrs. Shryock and Ms.

Lewis.

         40.      Mr. Diamond did not explain, identify, flag, or otherwise bring to Mrs. Shryock's

or Ms. Lewis's attention any of the following risks material to the suitability of his

recommendation:

               a. The interest-rate risk that the actual interest amounts credited to the annuity would

                  underperform relative to returns that could be realized on a laddered portfolio of

                  government securities without conferring any commensurate safety of principal.



                                                    9


                           '-   ·-~-   . -
                Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 17 of 28




                         b. The income-tax risk 1hat withdrawals from the annuity would be currently taxed

                              at higher rates applicable to 1he Trust, which risk would be compounded after

                              Mrs. Shryock's death, when 1he Trust would become irrevocable and thus

                              exposed to higher rates of income-taxation for the duration of the Trust.

                         c. The illiquidity risks arising from the 12-year surrender charge schedule.

                         d. The expense risk that the annuity's commission and surrender charges were

                              higher than the costs and expenses of investing in alternative suitable securities

                              without conferring any commensurate prospects of return, liquidity, or safety of

                              principal.

                   41.        Mr. Diamond did not present Mrs. Shryock or Ms. Lewis with any oilier

            information from which they might have gleaned that the recommendation otherwise was wholly

            unsuitable for Mrs. Shryock and the Trust.

                   42.        PHL furnished Ms. Lewis with a notice of a 10-day opportunity to rescind the

            annuity. The policy was not rescinded because neither Mrs. Shryock nor Ms. Lewis received any

            notice that the annuity was wholly unsuitable during this time period.

                   43.        The Phoenix Reflections Gold Bonus annuity is a type of fixed annuity that is

            indexed. It offered a fixed-interest account and indexed accounts for the annuity's owner to earn

            "index credits" based on 1he performance of a specific equity market or other price index (or

            indices). Money in a fixed indexed annuity earns interest based on changes in the applicable

            index. In 2011, PHL's major source of revenue on these annuities was the excess of investment

            income earned on the premium paid by the owner over interest and index credits, if any, that

            PHL credited to the annuity.




                                                               10



---·   --   ----    ·~   --    -~--   --~-   -·- - - -
    Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 18 of 28




        44.    The Phoenix Reflections Gold Bonus annuity is a type of fixed annuity that is

. deferred. Income from a deferred annuity is postponed, or deferred, for a period of time known

as the "accumulation" period, which is the time between when the owner begins paying

premiums and when income payments begin. The period of time during which income is paid is

known as the "payout" period.

       45.     During the accumulation period of a fixed deferred annuity, the amount of money

paid as the premium, less any applicable fees and expenses charged by the annuity's issuer, earns

interest at rates as specified in the annuity contract. During the payout period, the amount of each

income payment to the annuity's owner is generally set, or fixed, when the payments start and

does not change.

       46.     By design, an annuity is a long-term, illiquid, investment vehicle. An annuity is

not meant to be used to meet short-term financial goals.

       47.     PHL issued the annuity on August 22, 2011.

                      Plaintiffs Learn About the Annuity's Unsuitability

       48.     In 2014, Mrs. Shryock obtained about $100,000 from the annuity.

       49.     In or about June 2015, Mr. Gervais informed Mrs. Shryock and Ms. Lewis that

the annuity withdrawal had triggered a substantial income-tax liability.

       50.     Prior to this time, Mrs. Shryock and Ms. Lewis had not understood the annuity

was unsuitable to meet their needs because they had believed Mr. Diamond's assurances that it

was the best product to meet their needs and because reasonable diligence on their part would not

have revealed otherwise.




                                                II



                      .   -   --- ---   -~-
    Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 19 of 28




                               Defendants Refuse to Accept Responsibility

           51.       In a letter dated August 26,2015, Mr. Gervais asked PHL to rescind the annuity,

stating:

                 a. "it is obvious that she did not understand what it was that she was purchasing;"

                 b. ''this 'sale' was made to her under deceptive and misleading circumstances;"

                 c. the annuity "was a highly inappropriate investment to sell to a person of Ms.

                    Shryock's age and financial circumstances;"

                 d. "It is our professional opinion that not only was this investment unsuitable for this

                    consumer's needs, but your agents' actions were unconscionable and egregiously

                    inappropriate;" and

                 e. "Mr. Diamond('s] ... actions were merely those of a scam artist preying on the

                    lack of knowledge and understanding of the elderly, and were done so by him

                    with full knowledge and intention to take advantage of someone in such a

                    vulnerable state of life."

           52.      PHL refused to rescind the annuity.

           53.      Mr. Diamond sued Mr. Gervais for defamation.

           54.      Mr. Diamond's defamation suit was quickly dismissed.

                               Defendants Have Caused Plaintiffs Damages

           55.      Because of Defendants' acts and failures to act as allege herein, Plaintiffs suffered

damages caused by the liquidation of the Trust's suitable securities portfolio, including

acceleration and recognition of tax liabilities, payment of sales commissions, and loss of capital

appreciation of, and income from, the suitable securities, and damages caused by reinvestment of




                                                      12
             Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 20 of 28




        the net sales proceeds into the unsuitable annuity, including the PHL Annuity Commission and

        _additional income tax costs.

                   56.   Defendants abused plaintiffs' trust and their lack of knowledge, ability,

        experience, and capacity to a grossly unfair degree and acted willfully, recklessly or in wanton

        disregard of their rights in acting and failing to act in the manner complained of herein.

                                               CLAIMS FOR RELIEF

                                               First Claim for Relief
                                            [Unfair Insurance Practices]

                   57.   Plaintiffs incorporate by reference the preceding allegations as though set forth

        fully herein.

                   58.   Defendants' acts and failures to act as alleged herein constitute unfair or deceptive

        acts or practices in the business of insurance within the meaning of New Mexico's Unfair

        Insurance Practices Act, NMSA 1978 §§ 59A-16-l etseq. ("UIPA"), including§§ 59A-16-4(A),

        59A-l6-4(G) and 59A-l6-6.

                   59.   Defendants took advantage of Plaintiffs' lack of knowledge, ability, experience,

        and capacity to a grossly unfair degree and employed unconscionable trade practices within the

        meaning ofUIPA.

                   60.   Defendants willfully engaged in the actions and willfully perpetrated the

        omissions that resulted in the violations of the UIPA.

                   61.   Defendants are jointly and severally liable to Plaintiffs for actual damages.

                   62.   Alternatively, PHL is liable to Plaintiffs for rescission of the annuity, plus interest

        on the purchase price for the annuity at the highest rate permitted by New Mexico Jaw from the

        date of such purchase until the date of judgment, plus post-judgment interest thereon at the




                                                           13



--   ----   ----
                                                                                  ----   --    --    ----
    Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 21 of 28




highest rate permitted by New Mexico law from the date of such judgment until the judgment is

paid.

        63.     Defendants are jointly and severally liable to Plaintiffs for all the costs and

attorney fees they incurred in this proceeding to the fullest extent permitted by New Mexico law.

                                     Second Claim for Relief
                                     {Unfair Trade Practices]

        64.     Plaintiffs incorporate by reference the preceding allegations as though set forth

fully herein.

        65.     Defendants knowingly made tbe false or misleading oral or written statements and

other representations to Plaintiffs as alleged herein in connection with the marketing and sale of

financial planning services in their regular course of trade or commerce, including their

recommendations to sell the Trust's existing portfolio of suitable securities and use the proceeds

of sale to invest in the annuity.

        66.     The acts and omissions as alleged herein constitute unfair trade practices within

the meaning ofthe New Mexico Unfair Practices Act, NMSA 1978 §§ 57-12-1 et seq. ("UPA "),

including NMSA 1978 § 57-12-2(0) generally and NMSA 1978 §§ 57-12-2(0)(7), 57-12-

2(0)(8), 57-12-2(0)(12), 57-12-2(0)(14), 57-12-2(0)(15), 57-12-2(D)(l6) and 57-12-2(0)(17)

specifically.

        67.     The acts and omissions as alleged herein constitute unconscionable trade practices

within the meaning of UPA, including NMSA 1978 § 57-12-2(E) generally and NMSA 1978 §§

57-12-2(E)(l) and 57-12-2(E)(2) specifically.

        68.     Defendants took advantage of Plaintiffs' Jack of knowledge, ability, experience,

and capacity to a grossly unfair degree within the meaning of UPA.




                                                14



                          ~~--      ---   --~   -·   __ ., __ - -
                 Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 22 of 28




                       69.        Defendants willfully engaged in the actions and willfully perpetrated the

             omissions that resulted in the violations of the UPA.

                       70.        Defendants are jointly and severally liable to plaintiffs for actual damage or

             statutory damages, trebled, whichever is greater.

                       71.        Alternatively, PHL is liable to Plaintiffs for rescission of the annuity, plus interest

             on the purchase price for the annuity at the highest rate permitted by New Mexico law from the

             date of such purchase until the date of judgment, plus post-judgment interest thereon at the

             highest rate permitted by New Mexico law from the date of such judgment until the judgment is

             paid.

                       72.        Defendants are liable to Plaintiffs for all the costs and attorney fees they incurred

             in this proceeding to the fullest extent permitted by New Mexico law.

                                                        Third Claim for Relief
                                                      {Breach ofFiduciary Duty]

                       73.        Plaintiffs incorporate by reference the preceding allegations as though set forth

            fully herein.

                       74.        Defendants expected Plaintiffs to repose special confidence in them and Plaintiffs

             in fact reposed this special confidence in them, viewed the relationship between the parties as

            one of trust and confidence and necessarily relied on their expertise and care to pursue only those

            financial planning and investment strategies that were suitable for them.

                       75.        Defendants owed Plaintiffs a fiduciary duty of utmost good faith, fair dealing, and

            loyalty.

                       76.        Defendants breached their fiduciary duty.

                       77.        Defendants are jointly and severally liable to Plaintiffs for actual damages and

            punitive damages.


                                                                    15


·-   - - - - - --- -         --   -- -     · - - - - - --         -·-- ---
                                                                                                  -·-· --·   ··-·-   --
      Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 23 of 28




          78.       Alternatively, PHL is liable to Plaintiffs for rescission of the annuity, plus interest

~on   the purchase ]Jrice for the annuity at the highest rate permitted by New Mexico law from the

date of such purchase until the date of judgment, plus post-judgment interest thereon at the

highest rate permitted by New Mexico law from the date of such judgment until the judgment is

paid.

          79.      Defendants are liable to Plaintiffs for all the costs and attorney fees they incurred

in this proceeding to the fullest extent permitted by New Mexico law.

                                         Fourtb Claim for Relief
                                      [Negligent Misrepresentation/

          80.      Plaintiffs incorporate by reference the preceding allegations as though set forth

fully herein.

          81.      Defendants owed Plaintiffs a duty to exercise reasonable care and competence:

                a. to investigate and obtain accurate and correct information about the subject matter

                   of the financial planning services offered and delivered to them, including the

                   Trust's suitability of the existing securities portfolio, the annuity, and the subject

                   matter of Mr. Diamonds recommendations;

                b. to communicate accurate and correct information to Plaintiffs regarding their

                   findings and conclusions about Mr. Diamonds' recommendations;

                c. to supervise the formulation and communication of such information about the

                   subject matter of the recommendation; and

                d. to monitor the supervision of Mr. Diamond with respect to his recommendations

                   and to ensure compliance with federal and state securities and insurance laws and

                   regulations and PB'L's own applicable rules, policies and guidelines.

          82.      Defendants breached their duty of ordinary care.


                                                      16


 -····-   ~-      ~-    --    ·--    -~---       --        ~-~··-
                      Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 24 of 28


·'

                          83.     Defendants are jointly and severally liable to Plaintiffs for actual damages and

                  punitive damages.

                          84.     Alternatively, PHL is liable to Plaintiffs for rescission of the annuity, plus interest

                  on the purchase price for the annuity at the highest rate pennitted by New Mexico law from the

                  date of such purchase until the date of judgment, plus post-judgment interest thereon at the

                  highest rate pennitted by New Mexico law from the date of such judgment until the judgment is

                  paid.

                          85.     Defendants are liable to Plaintiffs for all the costs and attorney fees they incurred

                  in this proceeding to the fullest extent permitted by New Mexico law .

                                                           .Fifth Claim for Relief
                                                            [Breach of Contract[

                          86.     Plaintiffs incorporate by reference the preceding allegations as though set forth

                  fully herein.

                          87.     Defendants entered into an oral contract to provide Plaintiffs with financial

                  planning services to meet their needs with respect to the Trust, its existing securities portfolio,

                  and their intentions vis a vis the Trust's beneficiaries.

                          88.     Defendants entered into a written contract to provide Plaintiffs with a financial

                  product that would meet their tax deferral needs.

                          89.     Defendants breached these contracts.

                          90.     Defendants are jointly and severally liable to plaintiffs for actual and punitive

                  damages.

                          91.     Alternatively, PHL is liable to Plaintiffs for rescission of the annuity, plus interest

                  on the purchase price for the annuity at the highest rate pennitted by New Mexico law from the

                  date of such purchase until the date of judgment, plus post-judgment interest thereon at the

                                                                     17


~-   ----   ~·-
                                          -   _.,   ___ --------------
           Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 25 of 28


·'

        highest rate pennitted by New Mexico law from the date of such judgment until the judgment is



                      92.     Defendants are liable to Plaintiffs for all the costs and attorney fees they incurred

        in this proceeding to the fullest extent permitted by New Mexico law.

                                                 Sixth Claim for Relief
                                   [Breach of Covenant of Good Faith and Fair Dealing]

                      93.    Plaintiffs incorporate by reference the preceding allegations as though set forth

       fully herein.

                      94.    By virtue of Defendants' contracts with Plaintiffs, Defendants owed Plaintiffs a

       covenant of good faith and fair dealing.

                     95.     Defendants acted or failed to act such that Plaintiffs were prevented from

       enjoying the benefits of their contracts with Defendants.

                     96.     Defendants breached their covenant of good faith and fair dealing.

                     97.     Defendants are jointly and severally liable to plaintiffs for actual and punitive

       damages.

                     98.     Alternatively, PHL is liable to Plaintiffs for rescission of the annuity, plus interest

       on the purchase price for the annuity at the highest rate pennitted by New Mexico law from the

       date of such purchase until the date of judgment, plus post-judgment interest thereon at the

       highest rate permitted by New Mexico law from the date of such judgment until the judgment is

       paid.

                     99.     Defendants are liable to Plaintiffs for all the costs and attorney fees they incurred

       in this proceeding to the fullest extent pennitted by New Mexico law.




                                                               18


 ----- ---     _....._.   __ ------- -------- ---·--
                                                                              ~-----·
                                                                                            --~--~
                                                                                                               ·-·---~--------
                Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 26 of 28




                                                  Seventh Claim for Relief
                                                  [Negligent Supervision}

                    I 00.   Plaintiffs incorporate by reference the preceding allegations as though set forth

            fully herein.

                    101.    PHL owed Plaintiffs a duty to exercise reasonable care in supervising Mr.

            Diamond.

                    I 02.   PHL failed to supervise Mr. Diamond and thereby breached its duty of

            supervision.

                    I 03.   PHL is liable to plaintiffs for actual damages and punitive damages.

                    104.    Alternatively, PHL is liable to Plaintiffs for rescission of the annuity, plus interest

            on the purchase price for the annuity at the highest rate permitted by New Mexico law from the

            date of such purchase until the date of judgment, plus post-judgment interest thereon at the

            highest rate permitted by New Mexico law from the date of such judgment until the judgment is

            paid.

                    105.    Defendants are liable to Plaintiffs for all the costs and attorney fees they incurred

            in this proceeding to the fullest extent permitted by New Mexico law.

                                                  Eighth Claim for Relief
                                                  [Respondeat Superior}

                    106.    Plaintiffs incorporate by reference the preceding allegations as though set forth

            fully herein.

                    107.    PHL is vicariously liable for the acts and omissions of Mr. Diamond and DARPS.


                                                 PRAYER FOR RELIEF

                    Plaintiffs ask the Court to award them the fullowing relief:

                    A.      Declaratory relief that the annuity is unsuitable to meet Plaintiffs' stated needs;


                                                              19

-   ~---
           ~------·­
                               --~--
                                            ----- ---------
                                                                                           -------- -- --         ~-
                Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 27 of 28




                  B.   Actual damages for violations of the UIPA;

                  C.   Actual or statutory damages, trebled, for violations of the UPA;

                  D.   Actual and punitive damages for breach of fiduciary duty;

                  E.   Actual and punitive damages for negligent misrepresentation;

                  F.   Actual and punitive damages for breach of oral and/or written contract;

                  G.   Actual and punitive damages for breach of the covenant of good faith and fair

                       dealing;

                  H.   Actual and punitive damages for negligent supervision;

                  I.   Attorney fees and costs; and

                  J.   Such other and further relief as the Court deems is just and proper.

                                                      Respectfully Submitted,

                                                      MARRS GRIEBEL LAW, LTD.


                                                      By:       /s/ Clinton W. Marrs
                                                            Clinton W. Marrs
                                                            1000 Gold Ave. SW
                                                            Albuquerque, NM 87102
                                                            (505) 433-3926

                                                      -and-

                                                      TREINEN LAW OFFICE PC
                                                      Rob Treinen
                                                      500 Tijeras Ave. NW
                                                      Albuquerque, NM 87102
                                                      (505) 247-1980
                                                      (505) &43-7129 (fax)
                                                      robtreinen@treinenlawoffice.com




                                                        20

.   ---~
           ---- ----   ---·- --- ------
                                                   ----       ~-   ·------- ·------·-
          Case 1:16-cv-00819-SCY-KK Document 1-1 Filed 07/15/16 Page 28 of 28
                                                                                                    FILED IN MY OFFICE      !..:__



                                                                                                DISTRICT COURT CLERK
                                                                                                    61141201610:12:24 AM
                                                                                                        WELDON J. NEFF
                                                                                                             Dacia Schar!
      STATE OF NEW MEXICO
      COUNTY OF SAN JUAN
      ELEVENTH JUDICIAL DISTRICT COURT

      CAROLINE H. SHRYOCK and GAYLE L. LEWIS
      as trustees of THE CAROLINE H. SHRYOCK
      LIVING TRUST,

             Plaintiff,

     v.                                                               Case No. D-1116-CV-2016-00730

     PHL VARIABLE INSURANCE COMPANY,
     DIAMOND & ASSOCIATES RETIREMENT
     PLANNING SERVICES, INC. and MARK
     STEPHEN DIAMOND,

             Defendants.

                                       PLAINTIFFS' JURY DEMAND

             Plaintiffs, by and through their undersigned attorneys, pursuant to Rule 1-038 NMRA

     demand a trial by jury of all issues triable of right in this civil action.

                                                      Respectfully submitted,

                                                      MARRS GRIEBEL LAW, LTD.


                                                      By       Is/ Clinton W. Marrs
                                                              Clinton W. Marrs
                                                              1000 Gold Ave SW
                                                              Albuquerque, NM 87102
                                                              Telephone: (505) 433-3926

                                                      -and-

                                                      TREINEN LAW OFFICE PC
                                                      Rob Treinen
                                                      500 Tijeras Ave NW
                                                      Albuquerque, NM 87.102
                                                      (505) 247-1980
                                                      (505) 843-7129 (tax)
                                                      robtreinenlaltreinenlawoffice.com
                                                            Attorneysfor Plaintiffs




--------     - - - - - ----
                               ----- - - - -
                                                           - - - --~- ------   --         -------
